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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Trevor Reid, et al.,                            No. CV-22-00068-PHX-SMB
10                  Plaintiffs,                      ORDER
11   v.
12   United States Department of Interior, et al.,
13                  Defendants.
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15            The Court has reviewed Plaintiffs’ Joint Motion to Extend Time for Service
16   (Second Request) (Doc. 24) and for good cause shown,
17            IT IS HEREBY ORDERED the Motion is GRANTED.
18            IT IS FURTHER ORDERED extending the time to effectuate service on the
19   individual defendants to August 22, 2022.
20            IT IS FURTHER ORDERED extending the deadline to file an Answer to
21   October 11, 2022.
22            Dated this 16th day of August, 2022.
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